             Case 3:16-md-02741-VC Document 2528 Filed 01/22/19 Page 1 of 3




     Aimee Wagstaff (SBN 278480)
 1   aimee.wagstaff@andruswagstaff.com
 2   ANDRUS WAGSTAFF, PC
     7171 West Alaska Drive
 3   Lakewood, CO 80226
     Telephone: (303) 376-6360
 4   Facsimile: (303) 376-6361
 5   Attorney for Plaintiffs
 6
                                     UNITED STATES DISTRICT COURT
 7
                                  NORTHERN DISTRICT OF CALIFORNIA
 8
                                         SAN FRANCISCO DIVISION
 9

10    IN RE: ROUNDUP PRODUCTS LIABILITY                    Case No. 3:16-md-02741-VC
11    LITIGATION
                                                           MDL No. 2741
12
      This document relates to:                            PLAINTIFFS’ ADMINISTRATIVE MOTION
13                                                         TO FILE UNDER SEAL PORTIONS OF
      ALL ACTIONS                                          PLAINTIFFS’ REPLY IN SUPPORT OF
14
                                                           THEIR DAUBERT MOTION TO STRIKE
15                                                         CERTAIN OPINIONS OF MONSANTO
                                                           COMPANY’S EXPERT WITNESSES
16

17          Pursuant to Civil Local Rules 79-5, 7-11, this Court’s Standing Order for Civil Cases, ¶¶ 27-29,
18   and the Amended Protective Order, filed September 6, 2017, Dkt. 519 (“Amended Protective Order”), ¶
19   18, Plaintiffs hereby submit this Administrative Motion to File Under Seal (“Motion”). Subject to this
20   motion are portions of Plaintiffs’ Reply in Support of Their Daubert Motion to Strike Certain Opinions
21   of Monsanto Company’s Expert Witnesses, which plaintiffs seek to file under seal information about
22   Group 1 Plaintiffs’ medical conditions and/or other personally identifiable information, pursuant to FRCP
23   § 5.2(a)
24   I.    Compelling Reasons Exist to Maintain the Confidentiality of Plaintiffs’ Private Medical
           Information and Other Personally Identifiable Information
25

26          Plaintiffs are entitled to preserve the privacy of their medical information and other personally

27   identifiable information under the California Constitution, the Health Insurance Portability and

28
                                                                                    Case No. 3:16-md-02741-VC
                        PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
             Case 3:16-md-02741-VC Document 2528 Filed 01/22/19 Page 2 of 3




 1   Accountability Act of 1996 (“HIPAA”), the Federal Rules of Civil Procedure (“FRCP”), and existing

 2   case law.

 3          Foremost, the right to privacy provided by the California Constitution provides a compelling

 4   reason to seal the documents at issue in this motion. The California Constitution guarantees that among

 5   the inalienable rights afforded to individuals is the right to privacy. Cal. Const. art. I, § 1. Patients have

 6   a right to privacy in their medical information under the California Constitution. See Ruiz v. Podolsky,

 7   50 Cal. 4th 838, 851 (2010). There is “a constitutional right to privacy, more specifically, a constitutional

 8   right to nondisclosure of one’s personal information.” Stallworth v. Brollini, 288 F.R.D. 439 444 (N.D.

 9   Cal. 2012) (citing Whalen v. Roe, 429 U.S. 589, 599 (1977); Nixon v. Administrator of Gen. Serv., 433

10   U.S. 425, 457 (1977)). Accordingly, numerous other district courts have found that the need to protect

11   medical information qualifies as a “compelling reason” for sealing records. See San Ramon Reg’l Med.

12   Ctr., Inc. v. Principal Life Ins. Co., Case No. C 10–02258 SBA, 2011 WL 89931, at *1 n. 1 (N.D. Cal.

13   Jan.10, 2011); Abbey v. Hawaii Emp’r Mut. Ins. Co., Case No. 09–000545 SOM/BMK, 2010 WL

14   4715793, at *1–2 (D. Haw. Nov. 15, 2010) (“The need to protect medical privacy qualifies as a

15   ‘compelling reason.’”); Wilkins v. Ahern, Case No. C 08–1084 MMC (PR), 2010 WL 3755654, at *4

16   (N.D. Cal. Sept. 24, 2010); Lombardi v. Tri West Healthcare Alliance Corp., Case No. CV–08–02381–

17   PHX–FJM, 2009 WL 1212170, at *1 (D. Ariz. May 4, 2009).

18          Medical records are further deemed confidential under the HIPAA. See 45 C.F.R. § 164.502(a)

19   (“[a] covered entity may not use or disclose protected health information.”); see also Webb v. Smart

20   Document Solutions, LLC, 499 F.3d 1078, 1082 (9th Cir.2007).

21          Finally, FRCP 5.2 requires redaction of specific personally identifiable information absent a

22   contrary court order. This includes the individual’s social-security number, taxpayer-identification

23   number, birth date, and other financial-account numbers.

24   II.   Conclusion

25          For the foregoing reasons, Plaintiffs request that the Court grant this motion to seal portions of
26   Plaintiffs’ Reply in Support of Their Daubert Motion to Strike Certain Opinions of Monsanto Company’s
27

28                                               -2-                   Case No. 3:16-md-02741-VC
                        PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
            Case 3:16-md-02741-VC Document 2528 Filed 01/22/19 Page 3 of 3




 1   Expert Witnesses, to the extent these documents contain Plaintiffs’ private medical information and other

 2   personally identifiable information.

 3

 4

 5   Dated: January 22, 2019                              Respectfully Submitted,

 6                                                        /s/Aimee H. Wagstaff
                                                          Aimee H. Wagstaff
 7

 8                                                        Aimee Wagstaff (SBN 278480)
                                                          aimee.wagstaff@andruswagstaff.com
 9                                                        ANDRUS WAGSTAFF, PC
                                                          7171 West Alaska Drive
10                                                        Lakewood, CO 80226
                                                          Telephone: (303) 376-6360
11
                                                          Facsimile: (303) 376-6361
12
                                                          Co-Lead Counsel for Plaintiffs in MDL No. 2741
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                              -3-                   Case No. 3:16-md-02741-VC
                       PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
